Case 2:22-cv-14102-DMM Document 190 Entered on FLSD Docket 06/27/2022 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                  CASE NO. 22-14102-CIV-MIDDLEBROOKS/MATTHEWMAN


   DONALD J. TRUMP,

                  Plaintiff,

   v.

   HILLARY R. CLINTON, et al.,

                  Defendants.
                                                                /

                                       ORDER OF RECUSAL

          THIS CAUSE is before the Court sua sponte. The undersigned U.S. Magistrate Judge is

   currently assigned as the paired U.S. Magistrate Judge on this case. The Undersigned certifies that

   there are no referred, pending motions at the present time. Pursuant 28 U.S.C. § 455 and the Court’s

   Internal Operating Procedures, the undersigned Magistrate Judge recuses himself and refers this

   matter to the Clerk of the Court for reassignment.

          DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County, in the

   Southern District of Florida, this 27th day of June, 2022.




                                                                WILLIAM MATTHEWMAN
                                                                United States Magistrate Judge




                                                    1
Case 2:22-cv-14102-DMM Document 190 Entered on FLSD Docket 06/27/2022 Page 2 of 2




          In accordance with the Internal Operating Procedures for the Southern District of Florida,

   providing for the random and equal allotment of cases, this cause will be reassigned to Magistrate

           Alicia O. Valle
   Judge _____________________________.



          Copies of this Order shall be served on all pending parties of record by United States Mail.

   All documents for filing this case shall carry the following case number and
                 2:22-cv-14102-DMM/AOV
   designation:_____________________________________.


          Dated this ____           June
                      27th day of _________, 2022.

                                        ANGELA E. NOBLE
                                        Clerk of Court


                                        ___________________________
                                        By: Deputy Clerk




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